Case 1:17-cr-00201-AB.] Document 323 Filed 06/13/18 Page 1 of 1

 

 

UNITED sTATEs DISTRICT CoURT F I l_ E D
FoR THE I)ISTRICT oF CoLUMBIA
JUN 1 3 2018
) Clerk U S District&
, . . Bank t
UNITED sTATEs oF AMERICA, ) courts forma maria 01 coii‘r’niia
)
v. ) Crim. Action No. 17-0201-1 (ABJ)
)
PAUL J. MANAFORT, JR., )
)
Defendant. )
1
oRl)ER

Pending before the Court is the government’s ex parte sealed Motion to Unseal Partially
Certain Pleadings [Dkt. # 317], which seeks to partially unseal its May 25, 2018 motion
[Dkt. # 308] for leave to file a supplemental response to defendant Paul J. Manafort, Jr.’s motion
for reconsideration of his conditions of release. Upon review of the motion, it is ORDERED that
the motion is GRANTED. The Clerk of Court is directed to file on the public docket the
government’s May 25, 2018 motion [Dkt. # 308] and the redacted Versions of the exhibits to that
motion [Dkt. # 317-2 through # 317-6]. The Clerk- of Court is further directed to unseal
government’s June 6, 2018 ex parte motion [Dkt. # 317] itself.

SO ORDERED.

>4@1 BJQCL'+~
0

AMY BERMAN JACKSON
United States District Judge
Date: June 12, 2018

